  8:05-cr-00163-LSC-TDT          Doc # 35   Filed: 05/11/05   Page 1 of 1 - Page ID # 51




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )          8:05CR163
                    Plaintiff,              )
                                            )
       vs.                                  )           ORDER
                                            )
CLEO JO WALKER,                             )
                                            )
                    Defendant.              )



       Defendant’s motion for release (Filing No. 34) is scheduled for hearing before the
undersigned magistrate judge at 9:00 a.m. on May 16, 2005, in Courtroom No. 7, Second
Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 11th day of May, 2005.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
